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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE Western District of Michigan
In re:    Keith Louis Carter                                Case No. 20-02661
                                            ,               Chapter 13
Debtor(s).                                                  Hon. Scott W Dales
                                            /               Filed: August 17th, 2020

                                       AMENDED CHAPTER 13 PLAN

III. DISBURSEMENTS

         E. DIRECT PAYMENT BY THE DEBTOR(S) OF THE FOLLOWING DEBTS. All claims shall be paid by the
            Trustee unless listed herein:

Creditor, Address & Account No.        Collateral/Obligation                          Balance Owing       Interest
                                                                                                            Rate
Express Auto, Inc.                     2010 Ford Escape                              $11,060.00          N/A
2406 South 11th Street                 Leased Vehicle.
Niles, MI 49120                        Lease Date: 12/7/2019.
X506T


         THIS PLAN REMAINS UNCHANGED IN ALL RESPECTS NOT IN CONFLICT WITH THIS AMENDMENT.

Date: 10/21//20                                           /s/ Keith Louis Carter
                                                          Keith Louis Carter             , Debtor

Date: 10/21/20                                            /s/ Jeffrey D. Mapes
                                                          Jeffrey D. Mapes P70509        , Counsel for the Debtor(s)
